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                                                      No. 13-376C
                                              (Filed: September 27, 2013)

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LEVAN A. WALKER,                                                                               FILED
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                                                                                             U.S. COURT OF
                                                                                            FEDERAL CLAIMS
LTNITED STATES,

                                        Defendant.
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                                                                   ORDER

       Defendant filed a motion to dismiss this action on August 6,2013.
Plaintiffs response was due on September 6,2013. No response has been
filed as of the date of this order. Because it is apparent on the face of the
complaint that we lackjurisdiction over the allegations contained in plaintiff s
complaint, we need not wait for a response. ,See Rule l2(h) of the Rules of the
United States Court of Federal Claims.

        Plaintiff s allegations concem investigations of him by the ,,Niagara
County Sheriff Department" and the FBI during which these entities stole
"ideas" from plaintiff"over the phone." Compl. 1 . He also alleges that either
or both of these entities spread false rumors .,round Niagara County,'
conceming plaintiffls career as a rap music artist. Compl. l. The complaint
then lists five wrongs plaintiff believes were perpetrated against him, which
may or may not have a connection to the preceding allegations. These alleged
wrongs consist of being impersonated in pomographic videos, use of his
music on satellite and local radio stations without plaintiffs assent,
commercial use of the initials "BP, LW, and LV', on various products, the
unauthorized use of his likeness by .,the paparazzt," and lastly a video of
plaintiffposted on YouTube without his consent. See Compl. l-2. The result
of all of this is that plaintiff has been deprived of a successful career as a
"Hollywood star." Compl. 2. plaintiff seeks ,.three to four quadrillion,'
dollars. Compl. 2.
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        The Tucker Act gives this cou( jurisdiction over claims for money
against the federal govemment based on a regulatory, statutory, or
constitutional provision or on a contract with the federal government. 28
U.S.C. $ l49l(a)(l) (2012). Most of the wrongs listed in the complaint have
no connection to the federal govemment and thus cannot give rise to a cause
of action under the Tucker Act. To the extent that the Federal Bureau of
Investigation is implicated by general reference to an investigation, plaintiff
has not alleged the violation of a statute, regulation, constitutional provision,
or contractual provision mandating that he be paid money. See United States
v. Connolly, T16 F.2d 882, 885 (Fed. Cir. 1983) (citing (Jnited States v.
Mitchell,463 U.S. 206 (1983). We have no jurisdiction over any of the
allegations made in plaintiff s complaint.

       Accordingly, defendant's motion to dismiss is granted. We also grant
plaintiff s motion to proceed in/o rma pauperis. The clerk of court is directed
to dismiss the complaint without prejudice for lack ofjurisdiction.




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